                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
v.                                                )                    No. 3:22-MJ-2002-JEM
                                                  )
MATTHEW JONES,                                    )
                                                  )
                       Defendant.                 )

                                            ORDER

       This case is before the undersigned on the matter of Defendant Matthew Jones’s continued

temporary medical furlough. See 28 U.S.C. § 636(b). On January 25, 2022, United States

Magistrate Judge H. Bruce Guyton released Defendant Jones on a temporary medical furlough,

with conditions, including that Defendant be transferred from the hospital to an inpatient

rehabilitation facility and that he remain on “home incarceration” at that facility [Doc. 10 &

Doc. 10-1]. The Court’s Order of Temporary Release on Conditions for Medical Furlough

provides that Defendant Jones shall return to the custody of the United States Marshals Service at

his designated jail facility, when ordered to do so by the Court, and that the date and time for the

Defendant’s return to custody will be set in a separate order.

       Counsel for both parties appeared before the undersigned for a status conference on

Defendant’s medical furlough on February 28, 2022. Assistant United States Attorney Alan Scott

Kirk appeared on behalf of the Government. Assistant Federal Defender Nakeisha C. Jackson

represented Defendant Jones, who was excused from the hearing. Ms. Jackson informed the Court

that Defendant Jones is in intensive inpatient rehabilitation at the Veterans Administration Hospital

in Richmond, Virginia. She stated that Defendant still cannot sit up or walk without assistance.




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Defendant is receiving occupational and physical therapy three times daily, and the medical staff

estimate that Defendant needs an additional fifteen weeks of rehabilitation. According to Ms.

Jackson, Defendant has executed a medical release, and she anticipates receiving his medical

records in three weeks. AUSA Kirk did not oppose a continuation of Defendant’s medical

furlough, while defense counsel awaits his medical records and Defendant continues to receive

inpatient rehabilitation.

        Based on the information provided at the February 28 status conference, Defendant

Matthew Jones is ORDERED to remain on the current conditions of release [Doc. 10 &

Doc. 10-1] and temporary medical furlough. The Court will hold a status conference on the

Defendant’s medical furlough on March 28, 2022, at 10:00 a.m.

        IT IS SO ORDERED.
                                                    ENTER:


                                                    _______________________________
                                                    Jill E. McCook
                                                    United States Magistrate Judge




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